    Case 2:08-cr-00283-RCJ-PAL            Document 677        Filed 02/27/12              Page 1 of 1
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            ITED STATES OF AM ERICA,               )
    8                                              )
                       Plaintiff,     * ''         )                                                       '
    9                                              )                      '
         vs.                                       )        2:08-cr-283-RCJ-lNJ
    10                                             )                                                 '
         TERRENCE THOMAS,                          )
    11                                             )
                       Defendant.                  )                 ORDER
    12
    13
                The Federal Public D efender declined the appointm ent to represent Terrence Thom as
    14
         regarding his çtM otion for Retroactive A pplication of Sentencing Guidelines to Crack Cocaine
    15
         Offense''pursuantto 18USC j3582(//629)basedoncontlict.Thcrefore;
    16
.             IT IS H EREBY ORDERED thatShawn Percz isappointed ascounselforTerrence Thom as
    l7                                                                                 (:
       in place of the Federal Public Defender for all future proceedings regarding the M otion for
    18                                                                          ,,
         RetroactiveApplicationofSentencingGuidelinestoCrackCocaineOffense. (#629)
    j9                                                              .                                      '

    20
                DATED this                day ofFebruary,2012.
    2l
                Nunc Pro Tunc D ate:February 24,2012                                                              .
    22
    23                         '
    24                                                      ROBERT . N ES
                                                            United Stat D istrictJudge
    25
    26
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    28
